Case 21-10087-KHK             Doc 72    Filed 06/01/22 Entered 06/01/22 12:54:36     Desc Main
                                       Document      Page 1 of 2



                           THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division
In re:

          Ana Mariam Bejarano                              Case No. 21-10087-KHK
                                                           Chapter 13
                    Debtor



                ORDER GRANTING MOTION TO RESTRICT PUBLIC ACCESS

          THIS MATTER COMES upon the Motion by the Debtor to Restrict Public Access to

Docket No. 65-1 which includes the sensitive information of financial account numbers (the

“Motion”); with due and proper notice of the Motion being served by mail and email on the

Debtor, Ana Mariam Bejarano, and also by ECF electronic filing on the Chapter 13 Trustee,

Thomas P. Gorman, and upon Michael T. Freeman, Assistant U.S. Trustee; and the Court being

otherwise fully apprised of the circumstances, it is hereby

          ORDERED that the Motion is GRANTED, and

          The Court shall immediately restrict public access to Exhibit 1 to Debtor’s Motion to

Approve Loan Modification Agreement [Docket No. 65-1], and

          Debtor’s proposed redacted document shall be docketed on the public record to be filed

as Exhibit 1 to the Debtor’s Motion to Approve Loan Modification Agreement, Docket No. 65.



      May 31 2022
Date: _______________                                  /s/ Klinette H Kindred
                                                       _______________________________
                                                       Klinette H. Kindred
                                                       United States Bankruptcy Judge

                                                       EOD:______________

Suad Bektic, VSB # 90012                               Entered On Docket: June 1, 2022
20B John Marshall Street
Warrenton, VA 20186
Phone (540) 349-3232
Counsel for the Debtor
Case 21-10087-KHK       Doc 72    Filed 06/01/22 Entered 06/01/22 12:54:36          Desc Main
                                 Document      Page 2 of 2



I ask for this:

NEW DAY LEGAL, PLLC

/s/ Suad Bektic
Suad Bektic, Esquire, VSB # 90012
20B John Marshall Street
Warrenton, Virginia 20186
Phone: (540) 349-3232
FAX: (888) 612-0943
Counsel for the Debtor


SEEN:


/s/ Thomas P. Gorman, by email permission
Thomas P. Gorman, Esquire
Chapter 13 Trustee
300 N. Washington Street, Suite 400
Alexandria, Virginia 22314



/s/ Michael T. Freeman, by email permission
Michael T. Freeman, Esquire
Assistant U.S. Trustee
Office of the U.S. Trustee
1725 Duke Street, Suite 650
Alexandria, Virginia 22314


                             Local Rule 9022-1(C) Certification

The foregoing Order was endorsed by all necessary parties, pursuant to Local Rule 9022-1(C).

                                                   /s/ Suad Bektic
                                                           Suad Bektic
